

Will Foods, LLC v Will Poultry Co., Inc. (2022 NY Slip Op 01933)





Will Foods, LLC v Will Poultry Co., Inc.


2022 NY Slip Op 01933


Decided on March 18, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 18, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, LINDLEY, AND CURRAN, JJ.


319/20 CA 16-01704

[*1]WILL FOODS, LLC, PLAINTIFF-RESPONDENT,
vWILL POULTRY CO., INC., NANCY CHRISTODOULIDES, AS EXECUTRIX OF THE ESTATE OF DONALD E. WILL, DECEASED, DEFENDANTS-APPELLANTS, ET AL., DEFENDANTS. (APPEAL NO. 2.) 






BARCLAY DAMON LLP, BUFFALO (JENNIFER G. FLANNERY OF COUNSEL), FOR DEFENDANTS-APPELLANTS.
WENDY J. CHRISTOPHERSEN, BUFFALO, FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Timothy J. Walker, A.J.), entered July 1, 2016. The order granted the motion of plaintiff for leave to reargue, and upon reargument, granted the motion of plaintiff for summary judgment on the eighth and tenth causes of action in the amended complaint. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on February 4 and 16, 2022,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: March 18, 2022
Ann Dillon Flynn
Clerk of the Court








